     Case
      Case2:13-cr-00147-LDG-GWF
            2:13-cr-00147-LDG-GWF Document
                                  Document55  Filed09/03/13
                                           54 Filed 09/05/13 Page
                                                              Page11
                                                                   ofof
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      Nevada State Bar No. 9554
 2    HITZKE & ASSOCIATES
      3753 Howard Hughes Parkway, Ste. 200
 3    Las Vegas, NV 89169
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      ferranlawoffice@gmail.com
 5    Attorneys for Defendant
 6                                    UNITED STATES DISTRICT COURT
 7                                            DISTRICT OF NEVADA
 8
      THE UNITED STATES OF AMERICA                       Case No.: 2:13-cr-00147-LDG-GWF
 9

10                       Plaintiff,
                                                         UNOPPOSED MOTION TO TRAVEL
11           vs.                                         OUT OF CENTRAL DISTRICT OF
                                                         CALIFORNIA; PROPOSED ORDER
12    JACLYN MIKIE SUMARNKANT

13                       Defendants.
14

15

16           COMES NOW, Defendant Jaclyn Mikie Sumarnkant, by and through her counsel, Erick

17    M. Ferran, Esq., and moves the Court for an Order allowing Defendant Sumarnkant to travel from
18    her residence to outside of the Central District of California for the purpose of attending a wedding
19
      from September 6th, 2013, until September 10th, 2013. In support of the instant unopposed motion,
20
      Defendant states the following:
21
      Suggestions in Support:
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23           1.      On September 3, 2013, counsel for Defendant Sumarnkant contacted Assistant

24                   United States Attorney Amber Craig, Esq., in regards to this request. Ms. Craig

25                   stated that she did not have an objection to the request as long as it was acceptable
26                   to pre-trial services.
27

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     Case
      Case2:13-cr-00147-LDG-GWF
            2:13-cr-00147-LDG-GWF Document
                                  Document55  Filed09/03/13
                                           54 Filed 09/05/13 Page
                                                              Page22
                                                                   ofof
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 1          2.    Ms. Sumarnkant is currently on a travel restriction which restricts her to staying
 2                within the District of Nevada and/or the Central District of California, and which
 3
                  only allows travel for “Court Purposes.”
 4
            3.    Ms. Sumarnkant is currently under the supervision of Kristianna Janich, a Pretrial
 5
                  Officer in California. She is similarly being supervised in Las Vegas by Pretrial
 6

 7                Officer Zach Bowen.

 8          4.    Ms. Sumarnkant has done extremely well on pretrial release, has abided by all

 9                conditions, and has never tested positive or violated any of the conditions of her
10                release.
11
            5.    Ms. Sumarnkant has been advised that her pretrial officer has no objection if the
12
                  United States attorney and the Court approve.
13
            6.    The travel request is made so that Ms. Sumarnkant can attend her sister-in-laws
14

15                wedding from September 6th through the 10th, in San Diego, California. As such,

16                the request is made so that she may travel not out of the state, but out of the Central

17                District into the Southern District of California. Ms. Sumarnkant will be a member
18
                  of the bride’s party and hopes, with the Court’s approval, to be allowed to
19
                  participate in her obligations as one of the bridesmaids.
20
            7.    Ms. Sumarnkant would depart from her residence in California on September 6,
21
                  2013, and drive directly to the wedding, which would be in San Diego, California.
22

23                There, she would be in the presence of family members and would stay in the San

24                Diego area until the wedding concluded on September 10th, 2013, wherein she
25                would immediately return to her home.
26
            8.    Ms. Sumarnkant would naturally comply with any further restrictions required by
27
                  Pretrial during the time of her travel.
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     Case
      Case2:13-cr-00147-LDG-GWF
            2:13-cr-00147-LDG-GWF Document
                                  Document55  Filed09/03/13
                                           54 Filed 09/05/13 Page
                                                              Page33
                                                                   ofof
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 1           9.     To date, Ms. Sumarnkant has been a model client. She has remained in constant
 2                  contact with the undersigned counsel and there is no indication that Ms.
 3
                    Sumarnkant has been dishonest about this trip or about any other issue regarding
 4
                    this case. Ms. Sumarnkant has been fully compliant with pretrial services, and is
 5
                    only requesting the opportunity to travel within the State of California (but outside
 6

 7                  of the Central District).    The undersigned represents to this Court that Ms.

 8                  Sumarnkant does not appear to be even the slightest flight risk.

 9           WHEREFORE Defendant Sumarnkant respectfully requests leave of this court to depart
10    her residence in the Central District of California on September 6, 2013, to travel to San Diego,
11
      California, returning on September 10th, 2013, for the purposes of attending her sister-in-law’s
12
      wedding.
13
                                                              /s/ Erick M. Ferran, Esq.
14
                                                          ERICK M. FERRAN, ESQ.
15                                                        Nevada State Bar No. 9554
                                                          HITZKE & ASSOCIATES
16                                                        3753 Howard Hughes Parkway, Ste. 200
                                                          Las Vegas, NV 89169
17                                                        Telephone No.: (702) 784-7600
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18
                                                          ferranlawoffice@gmail.com
19                                                        Attorneys for Defendant

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     Case
      Case2:13-cr-00147-LDG-GWF
            2:13-cr-00147-LDG-GWF Document
                                  Document55  Filed09/03/13
                                           54 Filed 09/05/13 Page
                                                              Page44
                                                                   ofof
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 1                                       CERTIFICATE OF SERVICE
 2           I hereby certify that I am an employee of HITZKE & ASSOCIATES and that on the 3rd
 3
      day of September, 2013, I caused to be sent via ECF filing, a true and correct copy of the above
 4
      and foregoing UNOPPOSED MOTION TO TRAVEL OUT OF CENTRAL DISTRICT OF
 5
      CALIFORNIA; PROPOSED ORDER properly addressed to the following:
 6

 7    Amber Craig, Esq.
      Assistant United States Attorney
 8

 9                                                           /s/ Erick M. Ferran
                                                         An Employee of Hitzke & Associates
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      Case2:13-cr-00147-LDG-GWF  Document 54-1
           2:13-cr-00147-LDG-GWF Document 55 Filed
                                               Filed 09/05/13  Page15ofof15
                                                     09/03/13 Page



 1
                                       UNITED STATES DISTRICT COURT
 2
                                             DISTRICT OF NEVADA
 3

 4    THE UNITED STATES OF AMERICA                          Case No.: 2:13-cr-00147-LDG-GWF

 5                        Plaintiff,
                                                            [PROPOSED] ORDER ALLOWING
 6                                                          TRAVEL
                vs.
 7
      JACLYN MIKIE SUMARNKANT
 8
                          Defendants.
 9

10

11              Based upon the Motion of Defendant, and good cause appearing therefore, IT IS HEREBY
12
      ORDERED that the Defendant, JACLYN MIKIE SUMARNKANT, be allowed to travel as
13
      requested. Specifically, Defendant is hereby permitted to travel from her residence in the Central
14
      District of California, to San Diego, California, on September 6, 2013. She is permitted to remain
15

16    in San Diego, California, until September 10th, 2013, whereupon she is to return to her home in the

17    Central District of California. During this time the Defendant will continue to comply with

18    pretrial services, and will comply with any additional restrictions imposed during her period of
19
      travel.
20
                           5 day of September, 2013.
                Dated this ___
21

22

23                                      Honorable Judge of the United States District Court
                                        _____________________________________
24
                                        GEORGE FOLEY, JR.
25                                      United States Magistrate Judge

26
27

28
